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                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION


              CARLA R. KEITH,

                   Plaintiff,
                                                                CIVIL ACTION NO .
              V.
                                                                1 :06 - CV -loss-Mxs
              GENERAL ELECTRIC COMPANY,
              et al .,

                   Defendants .


                                                 ORDER

                    This Title VII action is before the Court on the motion of individual

              defendants Bradford Greene, Sandra Wesson, Dan Reynolds, David

              Pasternak, Lloyd Trotter, Jeffrey Immelt, and Jeff Schaper to dismiss for

              failure to state a claim on which relief may be granted and (except for

              defendant Weston) for insufficiency of process and insufficiency of service of

              process . In a Non-Final Report and Recommendation (R&R), the Magistrate

              Judge recommends that the motion to dismiss for failure to state a claim be

              granted and that the motion to dismiss for insufficiency of process and

              insufficiency of service of process be granted in part and denied in part . No




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             objections to the R&R have been filed .' The Court concludes that the R&R

             is correct that plaintiffs complaint fails to state a claim against the

             individual defendants upon which relief maybe granted . The Court need not

             consider the alternative grounds of insufficiency of process and insufficiency

             of service of process .



                   Accordingly, the Court ADOPTS the R&R (#10], GRANTS the

             individual defendants' motion to dismiss [#3], and DISMISSES plaintiffs

             complaint against defendants Bradford Greene, Sandra Weston, Dan

             Reynolds, David Pasternak, Lloyd Trotter, Jeffrey Immelt, and Jeff Schaper .


                    IT IS SO ORDERED, this *day of O to ber, 2006 .




                                                           MAvin H .~S~rdob enior Judge
                                                           United St~#.es Di rict Court
                                                           Northern District of Georgia




                    ' Plaintiff has filed a motion for reconsideration of the Magistrate Judge's
             Order denying her motion to amend the complaint, but that motion does not object
             to the recommended dismissal of the individual defendants .

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